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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


        Civil Action No.: 1:15-cv-01734-RBJ

        DENNIS OBDUSKEY, an individual,

                   Plaintiff,

        v.

       WELLS FARGO, WELLS FARGO BANK,
       WELLS FARGO & CO., WELLS FARGO BANK, N.A.,
       WELLS FARGO HOME MORTGAGE, and
       MCCARTHY AND HOLTHUS LLP,

                   Defendants.


        DEFENDANT WELLS FARGO BANK, N.A.’S RESPONSE TO PLAINTIFF’S
        LETTER REQUESTING EXTENSION OF TIME TO RESPOND TO LETTER
                         FROM CLERK OF COURT


             Defendant Wells Fargo Bank, N.A., through undersigned counsel, respectfully responds

to Plaintiff Dennis Obdusky’s Letter Requesting Extension of Time to Respond, stating as

follows:

                                               ARGUMENT

             1.      On November 8, 2021, the Court issued a letter from Clerk of Court (the “Letter”)

alerting the parties that Judge R. Brooke Jackson recently learned that while he was presiding

over this case, he or his spouse owned stock in Wells Fargo.

             2.      The Letter provided that the parties are “invited to respond to Judge Jackson’s

disclosure of a conflict in this case” and that any response should be submitted by November 30,

2021.




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           3.      Neither Plaintiff nor any Defendant submitted a response by November 30, 2021.

           4.      On November 30, 2021, Plaintiff filed sent a letter to the Clerk stating that he was

no longer represented by counsel and requested three weeks to locate counsel regarding a

response to the Letter. Essentially, Plaintiff requested a three-week extension, up to and

including December 21, 2021, to respond to the Letter.

           5.      Upon information and belief, the Letter was mailed to Wells Fargo’s former

counsel, Chris Diedrich, but at the office of his current employer, The Colorado Attorney

General’s Office. Mr. Diedrich ceased representing Wells Fargo in this matter following

issuance of the mandate.

           6.      On Thursday, December 9, 2021, undersigned counsel learned of the existence of

the Clerk of Court letter in this matter from counsel for Defendant McCarthy Holthus LLP, and

Plaintiff’s requested extension.

           7.      Upon information and belief, the Letter was not sent to Snell & Wilmer LLP, and

Wells Fargo was not otherwise apprised of the Letter until undersigned counsel discovered its

existence on December 9, 2021.

           8.      While Wells Fargo believes that no response to the Letter should be needed

because, among other things, the Tenth Circuit affirmed Judge Jackson’s judgment in this case,

and the U.S. Supreme Court affirmed the Tenth Circuit, if this Court grants Plaintiff’s request,

Wells Fargo requests that all parties also be granted the same extension.

                                             CONCLUSION

           If this Court grants Plaintiff’s requested extension, Wells Fargo requests that all parties

also be granted the same extension to respond to the Letter.




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Dated: December 6, 2021.


                                        Respectfully submitted,

                                        SNELL & WILMER L.L.P.

                                        s/ Greg Marshall
                                        Greg Marshall #19886
                                        Anna Adams #51218
                                        1200 Seventeenth Street, Suite 1900
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                                        Attorneys for Defendant Wells Fargo Bank, N.A.

                            CERTIFICATE OF SERVICE

I hereby certify that, on December 6, 2021, a true and correct copy of the foregoing
DEFENDANTS’ RESPONSE TO PLAINTIFF’S LETTER REQUESTING
EXTENSION OF TIME TO RESPOND TO LETTER FROM CLERK OF COURT was
filed and served via Colorado Courts E-Filing on the following:


Steven L. Hill, Esq.                         Holly R. Shilliday, Esq.
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                                        s/Maegann Parsons
                                        for Snell & Wilmer L.L.P.




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